   Case: 1:20-cv-04012 Document #: 1 Filed: 07/08/20 Page 1 of 5 PageID #:1




             IN THE UNITED STATES DISTRICT COURT
            FOR THE NORTHERN DISTRICT OF ILLINOIS
                      EASTERN DIVISION

 Elgin Jordan,                           )
                                         )
                     Plaintiff,          )
                                         )
                  -vs-                   )   No. _________
                                         )
 City of Chicago, Bryan Cox, Peter       )   (jury demand)
 Theodore, David Salgado, and            )
 Rocco Pruger,                           )
                                         )
                                         )
                     Defendants.         )

                                  COMPLAINT
       Plaintiff, by counsel, alleges as follows:

       1.    This is a civil action arising under 42 U.S.C. § 1983. The

jurisdiction of this Court is invoked pursuant to 28 U.S.C. § 1343 and § 1367.

       2.    Plaintiff Elgin Jordan is a resident of the Northern District of

Illinois.

       3.    Defendants Bryan Cox, Peter Theodore, David Salgado, and

Rocco Pruger (“officer defendants”) were, at all relevant times, acting under

color of their offices as Chicago police officers.

       4.    Defendant City of Chicago is an Illinois municipal corporation.

       5.    On March 31, 2015, the officer defendants arrested plaintiff in the

area of West Roosevelt Road and South Springfield Avenue in Chicago
   Case: 1:20-cv-04012 Document #: 1 Filed: 07/08/20 Page 2 of 5 PageID #:2




      6.    At the time of plaintiff’s arrest:

                a. None of the officer defendants had a warrant authorizing

                   the arrest of plaintiff;

                b. None of the officer defendants believed that a warrant had

                   been issued authorizing the arrest of plaintiff;

                c. None of the officer defendants had observed plaintiff

                   commit any offense; and

                d. None of the officer defendants had received information

                   from any source that plaintiff had committed an offense or

                   was otherwise subject to arrest.

      7.    After arresting plaintiff, the individual officer defendants

conspired, confederated, and agreed to fabricate a false story in an attempt

to justify the unlawful arrest, to cover-up their wrongdoing, and to cause

plaintiff to be wrongfully detained and prosecuted.

      8.    The false story fabricated by the individual officer defendants

included their concocted claims that they had observed plaintiff selling drugs

and that they had found drugs on plaintiff person.

      9.    The acts of the individual officer defendants in furtherance of

their scheme to frame plaintiff included the following:




                                       -2-
   Case: 1:20-cv-04012 Document #: 1 Filed: 07/08/20 Page 3 of 5 PageID #:3




                 a. One or more of the officer defendants prepared official

                     police reports containing the false story, and each of the

                     other individual officer defendants failed to intervene to

                     prevent the violation of plaintiff’s rights;

                 b. One or more of the officer defendants attested to the false

                     story through the official police reports, and each of the

                     other individual officer defendants failed to intervene to

                     prevent the violation of plaintiff’s rights; and

                 c. One or more of the officer defendants communicated the

                     false story to prosecutors, and each of the other individual

                     officer defendants failed to intervene to prevent the

                     violation of plaintiff’s rights.

      10.    As a result of the above described wrongful acts, plaintiff was

deprived of his liberty while a pre-trial detainee, convicted of a felony, and

then confined in the penitentiary for several years.

      11.    The Illinois Appellate Court reversed plaintiff’s conviction on

August 26, 2019.

      12.    On December 13, 2019, the prosecutor dropped all charges

against plaintiff.




                                         -3-
   Case: 1:20-cv-04012 Document #: 1 Filed: 07/08/20 Page 4 of 5 PageID #:4




      13.   At all relevant times, the City of Chicago has known and has

encouraged a “code of silence” among its police officers.

      14.   As summarized by the United States Department of Justice in

its official report entitled “Investigation of the Chicago Police Department,”

January 13, 2017, at 75:

                a. “One way to cover up police misconduct is when officers

                   affirmatively lie about it or intentionally omit material

                   facts.”

                b. “The Mayor has acknowledged that a ‘code of silence’

                   exists within CPD, and his opinion is shared by current

                   officers and former high-level CPD officials interviewed

                   during our investigation.”

                c. “Indeed, in an interview made public in December 2016,

                   the President of the police officer’s union admitted to such

                   a code of silence within CPD, saying ‘there’s a code of

                   silence everywhere, everybody has it . . . so why would the

                   [Chicago Police] be any different.’”

      15.   The United States Department of Justice concluded that “a code

of silence exists, and officers and community members know it.” Report at 75.




                                      -4-
   Case: 1:20-cv-04012 Document #: 1 Filed: 07/08/20 Page 5 of 5 PageID #:5




      16.   The City’s above described “code of silence” was a proximate

cause for the actions of the officer defendants to concoct a false story and

fabricate evidence.

      17.   As a result of the foregoing, plaintiff was deprived of rights

secured by the Fourth and Fourteenth Amendments to the Constitution of

the United States.

      18.   As a supplemental state law claim against defendant City of

Chicago only: as a result of the foregoing, plaintiff was subjected to a

malicious prosecution under Illinois law.

      19.   Plaintiff hereby demands trial by jury.

      WHEREFORE, plaintiff requests that appropriate compensatory and

punitive damages be awarded against the officer defendants, that

appropriate compensatory damages only be awarded against defendant City

of Chicago, and that fees and costs be taxed against all defendants.

                                  /s/ Joel A. Flaxman
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                                     -5-
